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           EXHIBIT C
From:                  Case 2:23-cv-02802-WBS-CKD
                               Diana Lopez        Document 1-3 Filed 12/04/23 Page 2 of 2
Sent:                               Monday, February 6, 2023 8:00 PM
To:                                 Crista Cannariato
Cc:                                 Scott Love
Subject:                            RE: Facebook posts

Thank you for sharing, Crista. I was relieved to see other parents calling her out on her transphobia. I noticed that in addition to
the Phoenix Coalition’s Yolo Rainbow Families, there was also mention of the Davis Parent University. DPU hosted a program
with Rachel Pepper, LMFT, and author of The Transgender Child in January. Looks like Rachel is in the Bay Area.

For now, I think we should go ahead and proceed as we discussed. I emailed a couple of other County Librarians to see if they’ve
encountered similar situations. Melinda also said that she doubted we can exclude the program as long as the event is free and
open to the public. She also said we can prepare for possible protests. I will talk more with her about it tomorrow and reconnect
with you.


From: Crista Cannariato <                                         >
Sent: Monday, February 6, 2023 3:02 PM
To: Diana Lopez <                        >
Cc: Scott Love <                       >
Subject: Facebook posts

Here are the screenshots of the Facebook posts from Beth Bourne. I think I found the origin of her idea to use the Blanchard
Room on page 10 of the 12/16/22 post. I highlighted that section.

L:\1.1 Administration\Incident Reports-keep 5 yrs\Davis\2023\DA 2022-12-16 Bourne Facebook Posts.docx
L:\1.1 Administration\Incident Reports-keep 5 yrs\Davis\2023\DA 2023-02-05 Bourne Facebook Posts.docx

Let me know if this affects the way you want to proceed, Diana.

Best,
Crista



Crista Cannariato (she/her/hers)
Library Regional Supervisor, West Yolo region
Yolo County Library
Mary L. Stephens Davis Branch
               . | Davis, CA 95616
E:                                      | P:

input | intellection | relator | ideation | connectedness

A guest on the traditional, unceded Yocha Dehe Wintun Nation land. For more information, please visit: www.yochadehe.org.




                                                                                                           Exhibit C, Page 1
